      Case 1:05-cr-00161-LJO Document 484 Filed 10/27/06 Page 1 of 2


 1 KATHERINE HART #76715
   Attorney at Law
 2 2055 San Joaquin
   Fresno, Ca. 93721
 3 Telephone: (559) 256-9800
   Facsimile: (559) 256-9798
 4
     Attorney for Defendant
 5   RICHARD RENTERIA
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )     CR-F-05-00161 OWW
                                           )
12         Plaintiff,                      )
                                           )     REQUEST TO RELEASE
13                                         )     CASH BOND TO PROPERTY
                                           )     OWNER AFTER SENTENCING
14         v.                              )     AND SURRENDER;
                                           )     ORDER
15                                         )     RETURNING CASH BOND
                                           )
16   RICHARD RENTERIA, et al.              )
                                           )
17                                         )
           Defendants.                     )
18                                         )
19         Defendant having been sentenced on September 11, 2006 to a term of 37
20   months in federal prison, defendant having been ordered to surrender himself to
21   the United States Marshals on October 25, 2006, and defendant having
22   surrendered, it is hereby requested that the cash bond posted by Joseph Simka to
23   secure the appearance of defendant, be hereby returned by the Federal Clerk’s
24   Office to depositor Joseph Simka, who will appear in person at the United States
25   District Court Clerk’s Office to accept a return of the cash bond previously
26   deposited.
27
28   Request to Return Cash Bond
      Case 1:05-cr-00161-LJO Document 484 Filed 10/27/06 Page 2 of 2


 1
 2   DATED: October 26, 2006               /s/ Katherine Hart
                                           KATHERINE HART
 3
 4
 5                                       ORDER
 6         Defendant RICHARD RENTERIA having been sentenced to a term of 37
 7   months in custody, and criminal proceedings having been closed against said
 8   defendant, it is hereby ordered that the cash bond previously deposited by Joseph
 9   Simka, to secure the appearance of Defendant RICHARD RENTERIA, be
10   returned to Mr. Simka.
11
12   IT IS SO ORDERED.
13   Dated: October 26, 2006                /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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28   Request to Return Cash Bond            2
